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       Chambers of                                                                             101 West Lombard Street
Ellen Lipton Hollander                                                                         Baltimore. Maryland 21201
   District Court Judge     y              DE?I'T'                                                    410-962-0742
                       c1


                                                         January 3, 2019

       LETTER TO COUNSEL

               Re:          State of Maryland v. United States of America. et al.
                            Civil No.: ELH-18-2849

      Dear Counsel:

              As you know, on January 2, 2019, the Court invited counsel for the parties to submit
      memoranda addressing the impact of the stay in Texas v. United States, No. 4:18-cv-00167-0,
      ECF 223 (N.D. Tex. Dec. 31, 2018) on the State's standing to bring suit in the instant case. See
      ECF 45. In my letter, I also noted the potential complication of the partial government shutdown
      and asked government counsel to advise me promptly if it could not file the requested submission.
      In response, the government has moved to stay the Court's Order of January 2, 2019 (ECF 45),
      because of the partial government shutdown. ECF 47. The State opposes the stay. ECF 48.

               The Court has reviewed the            parties' submissions. Given the potential significance of this
       matter to the health and well-being             of the citizens of Maryland, I shall deny the government's
       motion for a stay. Cf United States           v. Baltimore Police Dep 't, JKB-17-99, ECF 173 (D. Md. Dec.
       26, 20 18) (denying consent motion            for continuance due to partial government shutdown because
       "[ d]eeply serious matters involving           the safety and well-being of the citizens of Baltimore are at
       issue in this case").

               Therefore, each party may, if it chooses to do so, submit a memorandum addressing the
       effect of the stay in Texas v. United States, due no later than the close of business on January 9,
       2019.

                  Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
       as such.

                                                                             Sincerely,

                                                                                /s/
                                                                             Ellen Lipton Hollander
                                                                             United States District Judge
